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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA                                                  PLAINTIFF


v.                              NO. 4:12CR00071-004 SWW


STEPHANIE DENISE DOLPHIN                                                  DEFENDANT


                                            ORDER


       The Court has been advised that the Judgment and Commitment filed May 31, 2013 [doc

#119] should be and hereby is modified as follows:

       Condition #1 shall be modified to reflect that Defendant shall participate, under the

guidance and supervision of the U. S. Probation Officer, in a substance abuse treatment program

which may include testing, out-patient counseling, and/or residential treatment. Further, the

defendant shall abstain from the use of alcohol throughout the course of treatment.

       Add: Condition #5. Defendant shall take her prescription medications as prescribed.

       All other terms and conditions of defendant’s Judgment and Commitment shall remain

unchanged and in full force and effect.

       IT IS SO ORDERED this 5th day of June 2013.



                                                           /s/Susan Webber Wright

                                                           United States District Judge
